      Case 1:10-cv-01469-JDB       Document 29      Filed 10/18/10     Page 1 of 27




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
______________________________________________________
                                                              )
NASSER AL-AULAQI, on his own behalf and as next               )
      friend acting on behalf of ANWAR AL-AULAQI              )
                                                              )
              Plaintiff,                                      ) Civ. A. No. 10-cv-1469
                                                              )          (JDB)
      v.                                                      )
                                                              )
BARACK H. OBAMA, President of the United States;              )
ROBERT M. GATES, Secretary of Defense; and                    )
LEON E. PANETTA, Director of the Central Intelligence Agency, )
                                                              )
              Defendants.                                     )
______________________________________________________)

             DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO
                    DEFENDANTS’ MOTION TO DISMISS

                                  Respectfully Submitted

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          Case 1:10-cv-01469-JDB                      Document 29               Filed 10/18/10             Page 2 of 27




                                                 TABLE OF CONTENTS
                                                                                                                                PAGE

INTRODUCTION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

I.        PLAINTIFF LACKS STANDING UNDER ANY THEORY.. . . . . . . . . . . . . . . . . . . . . . 3

          A.         Plaintiff Has Not Demonstrated Next Friend Standing. . . . . . . . . . . . . . . . . . . . . . 3

          B.         Plaintiff Has Not Demonstrated Third Party Standing. . . . . . . . . . . . . . . . . . . . . . 5

          C.         Plaintiff Otherwise Lacks Article III Standing.. . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

II.       PLAINTIFF’S REQUESTS FOR RELIEF ARE NOT JUSTICIABLE. . . . . . . . . . . . . . 12

          A.         Gilligan v. Morgan Strongly Supports Non-Justiciability Here . . . . . . . . . . . . . . 15

          B.         Whether “Armed Conflict” Exists Against AQAP Is Non-Justiciable. . . . . . . . . 16

III.      THE COURT SHOULD EXERCISE ITS DISCRETION NOT TO ENTER
          THE REQUESTED EQUITABLE RELIEF. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17

IV.       PLAINTIFF HAS NO CLAIM UNDER THE ALIEN TORT STATUTE. . . . . . . . . . . . 19

V.        THE STATE SECRETS PRIVILEGE NEED NOT BE REACHED, BUT
          WOULD PROPERLY FORECLOSE LITIGATION OF THIS CASE.. . . . . . . . . . . . . . 23

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25




                                                                    i
       Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10       Page 3 of 27




                                         INTRODUCTION

       Plaintiff’s opposition fails to demonstrate that there is any basis on which this Court may

appropriately grant the declaratory and injunctive relief he seeks. As an initial matter, plaintiff

fails to demonstrate that he has met the constitutional requirements for standing to bring this suit

on behalf of his son, Anwar al-Aulaqi. Plaintiff offers no meaningful response to the fact that his

son—an operational leader of al-Qaeda in the Arabian Peninsula (AQAP)—could avoid the

alleged threat of lethal force at issue in this case by coming forward peacefully. Plaintiff’s

argument boils down to an assertion that Anwar al-Aulaqi should be entitled to the benefits of the

justice system without making any effort to access the courts on his own behalf. Article III

standing requirements foreclose this assertion under any theory of standing plaintiff advances,

including his new (and erroneous) assertion of “third party” standing.

       Plaintiff’s allegation of injury, which is based on sheer speculation, is also insufficient for

Article III standing. Plaintiff’s alleged injury is not that his son may be killed; indeed, plaintiff

concedes that the Government could target his son in certain circumstances. Instead, the entire

premise of plaintiff’s suit is that the Government is allegedly targeting his son without regard to

legal standards that plaintiff claims would apply to such force—in particular, that his son must

pose an imminent threat and there are no reasonable alternatives to lethal force. But, without

confirming or denying any of plaintiff’s allegations, there is no basis for assuming Executive

officials have authorized the use of force in violation of the legal standard plaintiff seeks and,

thus, no basis for granting the injunctive and declaratory relief that he requests.

       Plaintiff’s Complaint must also be dismissed because there simply is no basis in law,

logic, or history that would permit courts to issue binding directives to the President or his senior

military and intelligence officers before military or intelligence action overseas is undertaken,
       Case 1:10-cv-01469-JDB           Document 29        Filed 10/18/10      Page 4 of 27




when complex and time-sensitive determinations concerning the imminence of a terrorist threat

and the necessity of action are at issue. Plaintiff’s attempt to impose this ex ante and continuing

judicial oversight of sensitive and fact-intensive military and intelligence judgments is both

unprecedented and unwarranted.

        Plaintiff mischaracterizes defendants’ argument to be that “[n]o court should have any

role in establishing or enforcing legal limitations on the Executive’s authority to use lethal force

against U.S. citizens whom the Executive has unilaterally determined to pose a threat to the

nation.” See Opp. (Dkt. 24) at 1. This case does not raise any such broad question. To the

contrary, defendants have carefully tailored their argument to the particular circumstances and

specific claims raised in this lawsuit. Defendants do not assert the “unchecked” right to impose

an “extrajudicial death sentence” against any U.S. citizen whom the Government deems to “pose

a threat to the nation.” See id. at 1. Rather, defendants contend it would be inappropriate for this

Court to issue the ex ante declaratory and injunctive relief sought against the President or his

senior military and intelligence officials with respect to the possible use of force overseas against

a terrorist organization as to which the political branches have authorized the use of necessary

and appropriate force. The Court should dismiss plaintiff’s request for such unprecedented relief

as a non-justiciable political question. At the very least, the Court should exercise its discretion

not to enter the relief sought.

        Finally, as set forth below, plaintiff fails to demonstrate that he may proceed in his own

right pursuant to the Alien Tort Statute. In addition, while the Court need not reach the

Government’s assertion of the state secrets privilege, plaintiff’s challenge to the privilege

assertion in the circumstances of this case is without merit.


                                                 -2-
       Case 1:10-cv-01469-JDB           Document 29        Filed 10/18/10       Page 5 of 27




I.     PLAINTIFF LACKS STANDING UNDER ANY THEORY.

       A.      Plaintiff Has Not Demonstrated Next Friend Standing.

       Plaintiff’s opposition fails to establish two prerequisites for next friend standing: that

Anwar al-Aulaqi lacks access to the courts, and that he is interested in bringing this legal action.

As defendants have stated, without confirming or denying any allegation, plaintiff’s son could

access the courts on his own behalf—indeed, he could foreclose the alleged threat of lethal force

against him—if he surrenders or otherwise presents himself to the proper authorities in a peaceful

and appropriate manner. Plaintiff incorrectly contends that such a course is tied up in a merits

dispute as to whether an “armed conflict” exists in Yemen, or whether Anwar al-Aulaqi has been

indicted for a crime. Neither issue is relevant to the question of whether plaintiff can assert

standing on his son’s behalf. Rather, to address (and moot) the claims raised in this

lawsuit—the alleged use of lethal force—plaintiff’s son can come forward.

       Plaintiff raises a new and broader objection not at issue in this case: that his son cannot

access the courts because he might be detained if he comes forward. See Opp. at 14. That

Anwar al-Aulaqi, an operational leader of AQAP, may wish to avoid possible legal consequences

of coming forward is his own choice,1 but he does not lack access to the courts to challenge the

alleged threat of lethal force here, and he should not be free to avail himself of the benefits of the

U.S. courts without accessing them himself. The test for next friend standing is not, as plaintiff



       1
          Anwar al-Aulaqi has stated in a videotaped interview distributed by AQAP in May 2010
that “[t]here were negotiations in the past with the Yemeni government about turning myself in,
but I categorically rejected this . . . . The same goes for the Americans. I have no intention of
turning myself in to them. If they want me, let them search for me.” See Public DNI Clapper
Decl. (Dkt. 15-2) ¶ 16, (transcript available at http://www.memritv.org/ clip_transcript
/en/2480.htm, video available at http://www.memritv.org/clip/en/2480.htm).

                                                 -3-
       Case 1:10-cv-01469-JDB           Document 29        Filed 10/18/10       Page 6 of 27




states, merely whether “some impediment” exists to a party’s bringing a suit, Opp. at 8, but

whether “the real party in interest is unable to litigate his own cause.” Whitmore v. Arkansas, 495

U.S. 149, 150 (1990) (emphasis added). Anwar al-Aulaqi is able to litigate his own cause but

chooses not to do so, and therefore his father lacks next friend standing to act on his behalf.2

       Plaintiff also fails to demonstrate that he is acting in his son’s interests. Indeed, since the

Government’s opening brief, the media arm of AQAP, al-Malahim Media Production, has

published another lengthy statement written by Anwar al-Aulaqi. In that article, which appears

in the October 2010 edition of the AQAP publication “Inspire” (but was purportedly written in

April 2010), Anwar al-Aulaqi asserts that international and civil law, including the rulings of

civil courts, do not bind Muslims.3 This further publication of Anwar al-Aulaqi’s statements by

AQAP, coupled with the videotaped interview that AQAP released in May 2010, see Public DNI

Clapper Decl. ¶ 16, and an article written by Anwar al-Aulaqi for the July 2010 issue of Inspire,

see Exhibit 2 hereto, casts serious doubt on plaintiff’s assertion that his son is unable to

communicate his wish to file a lawsuit against the United States (or to communicate that he

wishes to present himself peacefully to authorities),4 and, thus, on whether plaintiff is acting in


       2
           Moreover, as defendants have explained, next friend standing has not been recognized
outside of the habeas context with respect to a mentally competent adult. See Defs. Mem. at 12.
Plaintiff fails to cite a single case where next friend standing has been recognized on behalf of a
real party who was not detained, a minor, or mentally incompetent.
       3
        See Exhibit 1 hereto, Excerpt from the Fall Issue of Inspire; see also Steven Stalinsky,
Middle East Media Research Institute, Inquiry & Analysis Series Report No. 638: Second Issue
of Al-Qaeda in the Arabian Peninsula’s (AQAP) “Inspire” Magazine: A General Review (Oct.
13, 2010), http://www.memri.org/report/en /0/0/0/0/0/0/4670.htm (last visited Oct. 17, 2010).
       4
         Indeed, the July 2010 article, which calls for the death of an American cartoonist,
concludes that people “may contact Shaykh Anwar through any of the emails listed on the
contact page.” See Exhibit 2 hereto, Excerpt from the Summer Issue of Inspire.

                                                 -4-
       Case 1:10-cv-01469-JDB           Document 29         Filed 10/18/10      Page 7 of 27




his son’s interests. Plaintiff’s contention that Anwar al-Aulaqi’s “public silence with respect to

the present lawsuit supports an inference in his favor,” Opp. at 10, stands plaintiff’s burden on its

head. A next friend does not have standing to pursue a lawsuit so long as the real party in

interest remains silent about the case (or issues no statement “disavowing or condemning” it).

Rather, a next friend is required to establish affirmatively that the real party lacks access to the

courts and would support the action filed on his behalf. Mere silence does not carry that burden.

       B.      Plaintiff Has Not Demonstrated Third Party Standing.

       Plaintiff seeks to circumvent the requirements of next friend standing by belatedly

asserting that he has third party standing to pursue claims on his son’s behalf.5 This contention is

meritless. A “plaintiff generally must assert his own legal rights and interests, and cannot rest his

claim to relief on the legal rights or interests of third parties.” Warth v. Seldin, 422 U.S. 490, 499

(1975) (quotation omitted). This restriction “arises from the understanding that the third-party

rightholder may not, in fact, wish to assert the claim in question, as well as from the belief that

‘third parties themselves usually will be the best proponents of their rights.’” Miller v. Albright,

523 U.S. 420, 446 (1998) (O’Connor, J., concurring) (quoting Singleton v. Wulff, 428 U.S. 106,

113-14 (1976) (opinion of Blackmun, J.)). The Supreme Court has stated that “this fundamental

restriction on judicial authority admits of certain, limited exceptions” that apply, unlike here,

where a plaintiff has independent standing to sue and special considerations counsel in favor of

allowing the plaintiff to also assert the rights of third parties with the same interests. Edmonson



       5
         Notably, plaintiff did not mention third party standing prior to filing his opposition brief.
His complaint avers plaintiff acts “as next friend to his son,” Compl. ¶ 9, and states he pursues
Claims 1, 2 and 4 “as next friend for his son,” Compl. ¶¶ 27, 28, 30. Plaintiff’s declaration
declares: “I act on my own behalf and as next friend to my son.” Nasser al-Aulaqi Decl. ¶ 1.

                                                  -5-
       Case 1:10-cv-01469-JDB           Document 29         Filed 10/18/10      Page 8 of 27




v. Leesville Concrete Co., 500 U.S. 614, 629 (1991) (citation omitted); see also Powers v. Ohio,

499 U.S. 400, 411 (1991) (criminal defendant may assert rights of jurors under third party

standing principles where discriminatory peremptory challenges causes him “cognizable injury”

that he is independently entitled to redress).

       Specifically, “a litigant may raise a claim on behalf of a third party if the litigant can

demonstrate that he or she has suffered a concrete, redressable injury” – i.e., that the litigant has

independent standing to sue—and also “that he or she has a close relation with the third party,

and that there exists some hindrance to the third party’s ability to protect his or her own

interests.” Edmonson, 500 U.S. at 629. Because the third party standing doctrine of Edmonson

and Powers applies only where a litigant also has independent standing to sue, it is significantly

different from next friend standing and cannot be invoked solely as an attempt to loosen the

“access to court” requirement of next friend standing.

       Plaintiff cannot establish third party standing because he neither alleges nor argues that he

has an independent constitutional claim, and (as set forth below) he has no valid cause of action

pursuant to the sole statutory claim he raises on his own behalf under the Alien Tort Statute

(ATS). Conflating next friend and third party standing, plaintiff focuses solely on whether the

alleged threat to his son and deprivation of his son’s companionship establish the kind of injury

that would give him a concrete interest in the outcome of this case. See Opp. at 11-12. But the

threshold question for third party standing is not simply whether plaintiff’s interests are aligned

with those of his son, but whether his own alleged injuries are independently “redressable.”




                                                 -6-
       Case 1:10-cv-01469-JDB           Document 29        Filed 10/18/10       Page 9 of 27




Edmonson, 500 U.S. at 629.6 Plaintiff cannot satisfy this threshold requirement because he

brings the constitutional claims at issue here solely in a representative capacity.7

       The Supreme Court has also recognized third party standing when a law directly and

deliberately interferes with a relationship between the litigant and third party, such as in the

privacy context, where doctors can assert the rights of their patients. See, e.g., Singleton, 428

U.S. at 117-18.8 In this narrow class of cases, the requisite injury to the third party exists because

the governmental program or action that has been challenged specifically targets a protected


       6
        See also Sec’y of State of Maryland v. Joseph H. Munson Co., 467 U.S. 947, 958 (1984)
(where plaintiff raises facial overbreadth challenge on behalf of non-parties, the “crucial issue[]”
is whether plaintiff has established his own injury-in-fact first).
       7
          Moreover, under the law of this circuit, as an alien residing in Yemen, Nasser al-Aulaqi
would not have a liberty interest under the Constitution that could support the third party
standing argument he seeks to pursue. See, e.g., 32 County Sovereignty Comm. v. Dep’t of State,
292 F.3d 797, 799 (D.C. Cir. 2002); see also Jifry v. FAA, 370 F.3d 1174, 1182 (D.C. Cir. 2004).
In any event, the D.C. Circuit has clearly held that “a parent does not have a constitutionally-
protected liberty interest in the companionship of a child who is past minority and independent.”
Butera v. District of Columbia, 235 F.3d 637, 656 (D.C. Cir. 2001) (“[W]e hold that a parent-
child relationship between two independent adults does not invoke constitutional
‘companionship’ interests[.]”); see also McCurdy v. Dodd, 352 F.3d 820, 829 (3d Cir. 2003)
(same); Valdivieso Ortiz v. Burgos, 807 F.2d 6, 8 (1st Cir. 1986) (same). In so concluding, the
D.C. Circuit has stated that childhood and adulthood are markedly distinct, thus requiring
“sharply different constitutional treatment.” Franz v. United States, 712 F.2d 1428, 1432 (D.C.
Cir. 1983). Plaintiff ignores this distinction in citing various cases where courts found injury
arising from the deprivation of or interference with a relationship between a parent and a minor
child. See Jones v. Prince George’s County, 348 F.3d 1014 (D.C. Cir. 2003) (infant daughter);
Reed v. Islamic Republic of Iran, 439 F. Supp. 2d 53 (D.D.C. 2006) (six-year-old son); Yaman v.
U.S. Dep’t of State, 709 F. Supp. 2d 85 (D.D.C. 2010) (Bates, J.) (six and eight-year-old
daughters). Plaintiff’s son is a 39-year-old adult. Nasser al-Aulaqi Decl. ¶ 4. By plaintiff’s own
account, Anwar al-Aulaqi has lived independently from his parents for at least the last 19 years,
is married, and has three children of his own. Id. Accordingly, Nasser al-Aulaqi cannot establish
any Article III injury based on a liberty interest in the companionship of his adult child.
       8
         As the D.C. Circuit noted in Haitian Refugee Center v. Gracey, 809 F.2d 794, 810 (D.C.
Cir. 1987), in Singleton “[t]he decisive vote was cast by Justice Stevens, who found third party
standing only because the physicians had first party standing.”

                                                 -7-
      Case 1:10-cv-01469-JDB            Document 29         Filed 10/18/10      Page 10 of 27




relationship between the litigant and the third party. See Haitian Refugee Ctr., 809 F.2d at 810

(explaining that the doctors in Singleton had standing to challenge a law that prohibited Medicaid

payments for abortions that were not “medically indicated” because the statute was “specifically

intended to burden the third-party patients’ relationship with their physicians”). In contrast, third

party standing is not appropriate where a challenged governmental action is not specifically

intended to interfere with the relationship between a third party and a litigant who is attempting

to assert the third party’s rights, and impeding contact between the two parties is but “an

unintended side effect of a program with other purposes.” See id. (rejecting third party standing

because impeding contact between Haitians and the litigants who were trying to help them was

only an indirect effect of the Government’s interdiction program). Here, no statutory provision

or governmental action is alleged to be at issue that is specifically intended to interfere with a

third party relationship. Notably, the D.C. Circuit has held that “a litigant may not be given third

party standing to assert constitutional rights of third parties that do not protect a relationship,

such as procedural due process rights. A litigant therefore could never have standing to

challenge a statute solely on the ground that it failed to provide due process to third parties not

before the court.” Id. at 809.9



        9
          Plaintiff cites Public Citizen, Inc. v. NHTSA, 489 F.3d 1279 (D.C. Cir. 2007), for the
proposition that the threat of “death, physical injuries, and property damage” could constitute an
injury in fact where an increased “risk of harm” results from the Government’s failure to act.
However, Public Citizen was not a third party standing case, but an organizational standing case.
“An organization has standing to sue on behalf of its members when, among other things, its
members would otherwise have standing to sue in their own right. Accordingly, an organization
must show . . . that at least one member has suffered injury in fact.” Id. at 1289 (citations and
quotations omitted). In other words, a concrete, particularized threat of injury to a member of an
organization necessarily constitutes a concrete, particularized threat of injury to the organization
itself. This authority is obviously inapposite here.

                                                  -8-
      Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10      Page 11 of 27




       Because plaintiff has not demonstrated his own redressable injury-in-fact, he fails to

establish the constitutional prerequisite to third party standing. Assuming the Court considers the

remaining prudential elements for such standing, and even assuming that plaintiff has a close

relation with his son, plaintiff fails to demonstrate that his son is unable “to advance his own

rights,” Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 623 n.3 (1989), because of

a “genuine obstacle” that rises to the level of a hindrance, Singleton, 428 U.S. at 116. As set

forth above, the notion that “some hindrance” exists to Anwar al-Aulaqi’s ability to protect his

own rights should be rejected because Anwar al-Aulaqi may choose to come forward peacefully

and access the judicial process. Plaintiff should not be permitted to evade the requirements of

next friend standing—which he cannot meet—through the backdoor of third party standing.

       C.      Plaintiff Otherwise Lacks Article III Standing.

       Even if plaintiff could assert next friend or third party standing, he would still lack Article

III standing for another reason: plaintiff’s claim of injury rests on conjecture as to the nature of

the alleged practices challenged. See Defs. Mem. at 16. Plaintiff’s attempt to rehabilitate his

allegation of injury is meritless—indeed, it confirms this standing problem.

       Plaintiff first attempts to retreat from the injury alleged in the Complaint, stating in his

opposition brief that “[h]e asserts an injury—his son’s death” that would allegedly be caused by

the Government’s conduct, “specifically, its decision to authorize the use of lethal force.” See

Opp. at 3; see also id. at 15 (“Plaintiff seeks to prevent the government from killing his son.”).

But the Complaint does not seek to prohibit the United States from using any and all lethal force

against Anwar al-Aulaqi (or any other U.S. citizen). Rather, plaintiff alleges that his son is being

targeted “without regard to whether, at the time lethal force will be used, he presents a concrete,


                                                  -9-
      Case 1:10-cv-01469-JDB            Document 29         Filed 10/18/10       Page 12 of 27




specific, and imminent threat to life, or whether there are reasonable means short of lethal force

that could be used to address any such threat.” Compl. ¶¶ 23, 27-29 & Prayer for Relief. It is

only the alleged failure of the Government to act in accord with these standards that establishes

plaintiff’s theory of the injury at issue in this case. But plaintiff’s contention that the

Government would not follow the criteria he seeks to impose is sheer speculation.

        Article III standing requirements do not permit a plaintiff to seek equitable relief based on

conjecture that the Government might act in a certain manner alleged to be unlawful, see Defs.

Mem. at 16-17 (citing City of Los Angeles v. Lyons, 461 U.S. 95, 105-06 (1983)), while the

plaintiff offers nothing to establish that the allegation is more than conjecture. Plaintiff argues

that he should be permitted to “assume” the Government will, absent an injunction, apply a

standard different from the one that plaintiff believes should apply. See Opp. at 16. This plea

just highlights that plaintiff is speculating that the Government is not acting (or would not act) in

compliance with the standard plaintiff argues should be applied here. See, e.g., Haitian Refugee

Ctr., 809 F.2d at 799 n.2 (“It is well established that a bare assertion that the government is

engaging in illegal or unconstitutional activity does not allege injury sufficient to confer

standing.”). Indeed, plaintiff confirms he is speculating as to whether the Government adheres to

the criteria he claims must apply to the alleged use of lethal force. He argues that the

Government’s references to the law of war confirm the “possibility” of non-adherence to those

criteria, Opp. at 5, and then demands that the Court order disclosure of any criteria the

Government allegedly utilizes, so that he can determine “[i]f the government’s standards are the

same as those plaintiff contends should apply,” and, if not, his “targeted killing claims can be

dismissed.” Id. at 6 n.4 (emphasis added). Such conjecture about what the Government might be


                                                  -10-
      Case 1:10-cv-01469-JDB           Document 29         Filed 10/18/10      Page 13 of 27




doing is inadequate to establish any legally cognizable injury “that is concrete, particularized, and

actual or imminent; fairly traceable to the defendant’s challenged action; and redressable by a

favorable ruling.” See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).10

       Plaintiff’s reliance on anonymous sources in media reports likewise does not establish his

standing. Based on such reports, plaintiff alleges that the Government maintains “lists” of

individuals being targeted, that individuals remain on the “lists” for months at a time, that

placement on the “lists” creates a standing authorization for use of lethal force, and that Anwar

al-Aulaqi has been added to the “lists.” See Opp. at 4. This information, plaintiff argues,

“show[s] not only a realistic danger that the government will kill Plaintiff’s son, but a realistic

danger that the government will kill him without compliance with constitutional and human

rights standards.” Id. at 4-5 (citing Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289,

298 (1979)). But even taking these allegations at face value, they do not support a reasonable

inference that Government officials have authorized the use of such force without compliance

with the standards plaintiff contends are necessary for the alleged use of force to be lawful. See

Defs. Mem. at 16. Moreover, the Government does not contend here that the alleged injury must

be demonstrated “with certainty,” as plaintiff asserts (see Opp. at 4)—only that the alleged harm

cannot be based on conjecture, which it surely is in this instance.11


       10
           The Supreme Court has recently made clear that allegations must set forth “more than a
sheer possibility” of alleged misconduct. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949-50 (2009)
(citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “Where a complaint pleads
facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between
possibility and plausibility of ‘entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).
       11
          Babbitt does not support plaintiff’s theory of standing. That case concerned pre-
enforcement standing to bring a facial challenge to a statute based on “a realistic danger of
sustaining direct injury as a result of the statute’s operation or enforcement.” 442 U.S. at 298.

                                                 -11-
      Case 1:10-cv-01469-JDB            Document 29         Filed 10/18/10       Page 14 of 27




II.     PLAINTIFF’S REQUESTS FOR RELIEF ARE NOT JUSTICIABLE.

        Plaintiff’s contention that his requests for relief are justiciable misrepresents the

defendants’ position. Defendants do not “argue broadly that the judiciary cannot interfere in

decision-making in the areas of foreign policy and national security.” Opp. at 24. Rather,

defendants have focused on the specific claims and requests for relief in this case and argued that

courts cannot (i) issue ex ante injunctions against the President or his senior military and

intelligence officers with respect to (ii) the alleged use of lethal force (iii) purportedly to be

undertaken abroad (iv) against an operational leader of (v) an organization with respect to which

the political branches have authorized the use of necessary and appropriate force, and (vi) where

granting and enforcing the specific relief sought would necessarily involve complex judgments

reserved to the Executive, dependent on intelligence assessments, as to whether an alleged target

poses a “concrete,” “specific,” or “imminent” threat, and whether means other than lethal force

could be “reasonably” employed. See Defs. Mem. at 3-5; 19-27.

        The political question doctrine requires the Court to conduct “a discriminating analysis of

the particular question posed” in the “specific case,” Baker v. Carr, 369 U.S. 186, 211 (1962),

and the particular claim in this lawsuit is for ex ante declaratory and injunctive relief—not

damages or some other after-the-fact remedy. Plaintiff challenges the authority of the President,

see Compl. ¶ 10, and seeks review of the alleged future use of force overseas against an


Such standing applies only where there is a threat of enforcement of a specific proscription that
demonstrably applies to a plaintiff’s actions. Notably, in Babbitt the Court rejected standing to
challenge statutory provisions that did not impose certain requirements on employers (to grant
access to facilities for communicating with employees) on the ground that the Court could “only
hypothesize” that an injury would occur absent a “palpable basis for believing that access will be
refused.” See id. at 304. Babbitt thus shows that standing will not be found based on conjecture
as to an alleged harm.

                                                  -12-
      Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10       Page 15 of 27




operational leader of a foreign terrorist organization that has planned attacks against the United

States and with respect to which the political branches have authorized the use of necessary and

appropriate force. See Defs. Mem. at 23-25. It is not the Government’s contention here that any

matter touching on foreign policy, national security, military, or intelligence affairs is

non-justiciable, or that any overseas action—including the use of force—would be exempt from

judicial review. Rather, it is the requests for declaratory and injunctive relief in this case that

defendants contend are non-justiciable. The Court need not decide the issue for any other setting.

       Plaintiff’s primary argument in response—that courts have reviewed constitutional

claims in the context of habeas detention proceedings and property disputes, see Opp. at 25-27,

does not render this very different case justiciable, as defendants have previously explained. See

Defs. Mem. at 30-31; see also Hamdi v. Rumsfeld, 542 U.S. 507, 534 (2004) (distinguishing

between process due a U.S. citizen “on the battlefield” for assessing the legality of their detention

from process that is due “when the determination is made to continue to hold those who have

been seized,” which “meddles little, if at all, in the strategy or conduct of war”).12


       12
           Plaintiff appears to argue that this Court should adjudicate whether the Authorization
for the Use of Military Force (AUMF) authorizes the use of force against AQAP. See Opp. at 33.
But the AUMF cases on which plaintiff relies concern a very different context: namely, a court’s
historical review of the facts in habeas proceedings that concern whether the continued detention
of a particular individual is authorized. See Opp. at 33 (citing Hamdi, 542 U.S. 507; Padilla v.
Hanft, 423 F.3d 386 (4th Cir. 2005); Hamlily v. Obama, 616 F. Supp. 2d 63 (D.D.C. 2009)
(Bates, J.)); see also id. at 18 (citing Parhat v. Gates, 532 F.3d 834 (D.C. Cir. 2008); Khan v.
Obama, --- F. Supp. 2d ---, No. 08-CV-1101, 2010 WL 3833917, at *2-3 (D.D.C. Sept. 3, 2010)
(Bates, J.)). Here, in contrast, plaintiff seeks judicial review of the Executive’s judgment that
force is authorized against a particular organization before the President may act to protect the
nation against that organization. There is no precedent for the proposition that a federal court
may determine before-the-fact whether the President has authority to target a particular enemy he
has determined falls within the law. In addition, the Executive’s judgment as to whether force is
authorized against AQAP or any other organization is informed by changing circumstances and
sensitive intelligence that cannot be disclosed in a case such as this. Indeed, any judicial

                                                 -13-
      Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10       Page 16 of 27




       In addition, plaintiff now concedes that the Court cannot review ex ante “real-time”

determinations by the President or his senior military and intelligence officers that lethal force

may be required in response to an imminent threat. See Opp. at 30. But he nonetheless seeks

declaratory and injunctive relief in order to set the stage for after-the-fact adjudication of

precisely such questions. Rather than salvaging his argument that the relief sought is justiciable,

this concession undercuts the basis for judicial action even further. Defendants are not aware of

any historical precedent for the judiciary issuing directives to the Executive before the United

States may take lethal action overseas and thereby threatening officials with the prospect of

contempt sanctions if they are unable, after the fact, to persuade a court that their real-time

assessments of imminence and necessity, based on complex military, intelligence, and foreign

policy judgments, were reasonable. See Defs. Mem. at 26.


direction based on current circumstances could quickly become obsolete when the Executive
obtains new intelligence; thus, an injunction would necessarily impede the Executive’s ongoing,
real-time national security judgments. The Government has made limited public statements
concerning the connection between AQAP and Al-Qaeda, see Exh. 3 (Dkt. 15-4), but, in the
context of the relief sought in this case, the Government’s state secrets privilege assertion
necessarily encompasses additional intelligence information related to these organizations that
would be necessary to adjudicate the issue as plaintiff requests. In any event, plaintiff ignores the
critical distinction that the D.C. Circuit identified in El-Shifa Pharmaceutical Industries Co. v.
United States, 607 F.3d 836, 848-49 (D.C. Cir. 2010) (en banc), that “the political question
doctrine does not preclude judicial review of prolonged Executive detention predicated on an
enemy combatant determination because the Constitution specifically contemplates a judicial role
in this area.” Likewise, plaintiff’s attempt to distinguish DaCosta v. Laird, 471 F.2d 1146 (2d
Cir. 1973) and Holtzman v. Schlesinger, 484 F.2d 1307 (2d Cir. 1973), see Opp. at 36-37, is
unpersuasive. Both decisions are broad rejections of the notion that courts may review the scope
of a mutual decision by the political branches to authorize the use of force overseas and do not
rest on the notion that only a “tactical” decision was non-justiciable. See DeCosta, 471 F.2d
at1155; Holtzman, 484 F.2d at 1310. Similarly, the Second Circuit’s decision in Orlando v.
Laird, 443 F.2d 1039 (2d Cir. 1971), ultimately held that “‘decisions regarding the form and
substance of congressional enactments authorizing hostilities’” are political questions because
they “are determined by highly complex considerations of diplomacy, foreign policy and military
strategy inappropriate to judicial inquiry.’” Id. at 1043.

                                                 -14-
      Case 1:10-cv-01469-JDB           Document 29        Filed 10/18/10      Page 17 of 27




       A.      Gilligan v. Morgan Strongly Supports Non-Justiciability Here.

        Plaintiff’s effort to distinguish Gilligan v. Morgan, 413 U.S. 1 (1973), is unavailing.

Gilligan presented remarkably similar issues and weighs heavily against finding the claims at

issue here to be justiciable. Indeed, Gilligan arguably involved a lesser intrusion on the political

branches—the regulation of future lethal force in domestic civil disorders by the National

Guard—as opposed to an injunction on the President with respect to possible uses of force

overseas against terrorist entities as to which the political branches have authorized such force.13

       First, while it is true that Gilligan involved more than one jurisdictional concern,

including mootness issues, see 413 U.S. at 5, the Supreme Court made clear that it was “not

prepared to resolve the case on that basis and therefore turn[ed] to the important question [of]

whether the claims alleged in the complaint, as narrowed by the Court of Appeals’ remand, are

justiciable.” Id. The question remanded by the Court of Appeals, and which the Supreme Court

considered to be non-justiciable, concerned whether there was any basis for believing that the

future use of lethal force would violate relevant legal norms:

               Was there and is there a pattern of training, weaponry and orders in
               the Ohio National Guard which singly or together require or make
               inevitable the use of fatal force in suppressing civilian disorders
               when the total circumstances at the critical time are such that
               nonlethal force would suffice to restore order and the use of lethal
               force is not reasonably necessary?

Id. at 4. As to that question, the Supreme Court held that judicial evaluation of the training,

weapons, and scope of orders to control the use of lethal force would plainly intrude on textually


       13
          Gilligan, which rejected a due process claim in part on justiciability grounds, also
disposes of plaintiff’s suggestion that any Fourth or Fifth Amendment claim is per se justiciable
because the adjudication of these rights is “textually committed” to the judicial branch. See Opp.
at 24; see Gilligan, 413 U.S. at 6.

                                                -15-
      Case 1:10-cv-01469-JDB            Document 29         Filed 10/18/10      Page 18 of 27




committed authority of the President and Congress. See id. at 6-7.

        Second, while Gilligan was not “an action seeking a restraining order against some

specified and imminently threatened unlawful action,” see id. at 5, the Supreme Court did not

hold that such a claim would necessarily be justiciable (particularly in the circumstances

presented here). And, in any event, the relief sought in this case does entail a “broad call on

judicial power to assume continuing regulatory jurisdiction over the activities of” the President,

armed forces, and intelligence services, id., precisely in order to support “continuing judicial

surveillance . . . to assure compliance” with the law. Id. at 6. See Compl. at 11, Prayer for Relief

(seeking declaratory and injunctive relief regarding the use of lethal force as to all U.S. citizens,

including plaintiff); Opp. at 17 (seeking enforcement of requested relief through after-the-fact

remedies). Plaintiff seeks the imposition of legal standards governing future conduct closely akin

to the specific question at issue in Gilligan: whether the Government has a “pattern of . . . orders

. . . which singly or together require or make inevitable the use of fatal force . . . when the total

circumstances at the critical time are such that nonlethal force would suffice . . . and the use of

lethal force is not reasonably necessary.” 413 U.S. at 4. Gilligan thus firmly supports the

conclusion that plaintiff’s claims are non-justiciable.

        B.      Whether “Armed Conflict” Exists Against AQAP Is Non-Justiciable.

        Finally, the Court should disregard plaintiff’s extended argument that “armed conflict”

does not exist in Yemen as a matter of international law. See Opp. at 32-35. Plaintiff—not the

Government—injects this issue into the case, arguing that all of his claims depend upon the

absence of such an armed conflict. But even assuming the “armed conflict” issue were relevant

here, that issue would also be non-justiciable in the context of this case—where ex ante


                                                 -16-
       Case 1:10-cv-01469-JDB           Document 29         Filed 10/18/10       Page 19 of 27




declaratory and injunctive relief is sought to regulate the future use of force overseas by the

President and his senior military and intelligence officers against an entity as to which the

political branches have authorized the use of necessary and appropriate force.

        Plaintiff’s argument that any use of lethal force against Anwar al-Aulaqi in Yemen would

not be as part of an ongoing armed conflict is based on assertions by plaintiff’s declarants that

AQAP is incapable of engaging in armed conflict because it is, inter alia, fragmented, small,

lacks an organization chart, has an amateurish online operation, has dubious relationships with

the Government of Yemen, and has engaged in only a small number of attacks that render it an

“irritant.” See Decl. of Bernard Haykel ¶¶ 7-13; see also Decl. of Prof. Mary Ellen O’Connell.

With due respect, even assuming the standards plaintiff advances for determining whether AQAP

could be a participant in an armed conflict were correct as a matter of international law, the

Government is aware of no instance where a court has reviewed ex ante, based on opinion

testimony, the Executive’s determination that an organization is sufficiently organized as to be

engaged in armed conflict. In these circumstances, the President’s judgment, based largely on

intelligence information addressing the manner in which AQAP is organized, the nature and

scope of its activities, and its relationship to al-Qaeda, is not subject to review.14

III.    THE COURT SHOULD EXERCISE ITS DISCRETION NOT TO ENTER THE
        REQUESTED EQUITABLE RELIEF.

        Even if the Court were to conclude that plaintiff’s claims here are justiciable, it should

nonetheless exercise its equitable discretion to deny the declaratory and injunctive relief sought.

See Defs. Mem at 35-39. The question under the equitable discretion doctrine is not only


        14
        Plaintiff does not dispute that the United States is engaged in an armed conflict with al-
Qaeda. See Hamdan v. Rumsfeld, 548 U.S. 557, 628-31 (2006).

                                                  -17-
      Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10      Page 20 of 27




whether the Court has “authority” to act, see Opp. at 15, but whether it should exercise any such

authority to grant the relief sought. For all of the reasons previously set forth, the Court should

decline to do so in this case. See Defs. Mem. at 35-39.

       Plaintiff dismisses long-standing precedent that courts should not impose injunctive relief

on the President, see Defs. Mem. at 37-38; Opp. at 20-21—an equitable principle that, in the

unusual circumstances of this case, should also necessarily apply to the President’s top military

and intelligence officers who carry out the President’s orders. See Defs. Mem. at 38 (citing

Mississippi v. Johnson, 71 U.S. (4 Wall) 475, 499 (1866)). This case does not concern

governmental actions unmoored from core presidential powers as to which lower level officials

may be enjoined—such as the submission of reapportionment data by the Secretary of

Commerce, or the termination of an employee of the National Credit Union Administration. See

Opp. at 21 (citing, inter alia, Franklin v. Massachusetts, 505 U.S. 788, 803 (1992); Swan v.

Clinton, 100 F.3d 973, 979 (D.C. Cir. 1996)). The relief plaintiff seeks puts directly at issue the

President’s core constitutional and statutory authority to act overseas through his senior military

and intelligence officers against a foreign terrorist organization.

       Plaintiff further contends that the declaratory and injunctive relief at issue would not be

any more “abstract” than the “command” issued by the Supreme Court in Tennessee v. Garner,

471 U.S. 1, 7 (1985), that “apprehension by the use of deadly force is a seizure subject to the

reasonableness requirement of the Fourth Amendment” considering the “totality” of the

circumstances. See Opp. at 17. Leaving aside that these are inherently fact-specific judgments,

the lawsuit in Garner adjudicated the legality of a particular use of force after the fact, and the

notion that its “command” should be properly imposed ex ante on the President’s authority to use


                                                 -18-
      Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10      Page 21 of 27




force overseas against a particular foreign terrorist organization is profoundly wrong. Even if the

constitutional principles set forth in Garner were applicable in the alleged context, imposing

them ex ante by declaratory or injunctive relief to the circumstances at issue here would

necessarily interfere with the judgments of the President and senior defense and intelligence

officials as they face changing, fact-intensive decisions concerning how to protect national

security and, thus, could have unforeseen and potentially catastrophic consequences. These are

precisely the kind of delicate national security and foreign policy matters in which courts should

decline to intrude. See Sanchez-Espinoza v. Reagan, 770 F.2d 202, 208 (D.C. Cir. 1985).

IV.    PLAINTIFF HAS NO CLAIM UNDER THE ALIEN TORT STATUTE.

       In accordance with the Supreme Court’s emphasis in Sosa v. Alvarez-Machain, 542 U.S.

692, 729 (2004), that courts must engage in “vigilant doorkeeping” in recognizing a “narrow

class” of actions under the ATS, 28 U.S.C. § 1350, this Court should not create the novel claim

for relief under the ATS that plaintiff seeks in this case. Plaintiff is asserting a claim in his own

name under the ATS, not as next friend to his son. Compl. ¶ 29.15 It follows that his claim must

be for an injury to himself and not for an injury to anyone else, including his son.16 But there is


       15
          Plaintiff’s son cannot bring an ATS action in his own name (he is a U.S. citizen, and
the ATS applies only to a “civil action by an alien,” 28 U.S.C. § 1350). Moreover, if Nasser al-
Aulaqi brought an ATS damages action on behalf of his son’s estate, the estate would likely
share his son’s U.S. nationality (and plaintiff has not shown otherwise), cf. 28 U.S.C.
§ 1332(c)(2) (“the legal representative of the estate of a decedent shall be deemed to be a citizen
only of the same State as the decedent”), and thus would be precluded from raising an ATS
claim, which permits only a “civil action by an alien,” 28 U.S.C. § 1350 (emphasis added).
       16
           This is true under both federal law, see Whitmore, 495 U.S. at 155 (“complainant must
allege an injury to himself”) (emphasis added); Allen v. Wright, 468 U.S. 737, 751 (1984) (noting
the “general prohibition on a litigant’s raising another person’s legal rights”), as well as under
international law, see, e.g., U.S.-German Mixed Claims Commission, Opinion in the Lusitania
Cases, Nov. 1, 1923, 7 U.N.R.I.A.A. 32, 35.

                                                 -19-
      Case 1:10-cv-01469-JDB           Document 29        Filed 10/18/10       Page 22 of 27




nothing in the Complaint to support an allegation that plaintiff would be subjected to an

extrajudicial killing. Thus, whatever he may attempt to plead, the only kind of injury plaintiff

can assert on his own behalf under the ATS claim is something akin to anticipated intentional

infliction of emotional distress against a bystander. And for reasons the Government has already

explained (Defs. Mem. at 41-42), plaintiff has not demonstrated that any such claim would be

recognized even under domestic U.S. tort laws. Nor can he show—as required by Sosa, 542 U.S.

at 732—that established international law protects bystanders from intentional infliction of

emotional distress, let alone that such a norm has no “less definite content and acceptance among

civilized nations than the historical paradigms familiar” when the ATS was enacted in 1789.

       Plaintiff fails to grapple with who, exactly, is bringing the ATS claim (the father, not the

son) and what alleged injury that plaintiff might suffer (emotional distress, not a killing).

Plaintiff simply asserts, without support, that he may bring a claim in his own name to enjoin an

alleged tort of extrajudicial killing that might, in the future, be inflicted on someone else. Opp. at

39-40. Plaintiff asserts that if his son were killed, he could bring an ATS action for damages.

Opp. at 40 n.33. But he has made no showing that such a damages claim for an extrajudicial

killing of his son would be anything more than a suit in the son’s name, with the father acting

only as legal representative of the deceased. Cf. Torture Victim Protection Act, 28 U.S.C. § 1350

note (an individual who subjects another individual to extrajudicial killing shall “be liable for

damages to the individual’s legal representative”). The assertion thus sheds no light on whether

plaintiff can bring an ATS claim for injunctive relief in his own name for an extrajudicial killing

that supposedly will be inflicted on another person in the future.

       Moreover, plaintiff’s claim (Opp. at 40) that “there is nothing new” about the injunctive


                                                -20-
      Case 1:10-cv-01469-JDB            Document 29         Filed 10/18/10       Page 23 of 27




relief he seeks is incorrect. Plaintiff asks this court to use its restricted power to create federal

common law to fashion an extraordinary cause of action under the ATS for injunctive and

declaratory relief – at the behest of an alien outside the United States – against the President, the

Secretary of Defense, and the CIA Director with respect to alleged military and intelligence

operations abroad. And he seeks such a claim based on speculation about an injury that has not

yet occurred and that, if it did occur, would be inflicted not on himself but on his son, who is not

entitled to bring an ATS action. Plaintiff cannot point to a single ATS case recognizing a claim

remotely similar to the one he seeks

        Relatedly, the D.C. Circuit has held that courts should not fashion a cause of action for

damages under Bivens against U.S. officials based on alleged constitutional violations arising out

of military operations abroad. Rasul v. Meyers, 563 F.3d 527 (D.C. Cir. 2009), cert. denied, 130

S. Ct. 1013 (2009). A fortiori a court should not fashion a federal common law cause of action

for injunctive and declaratory relief under the ATS that would restrain the President and his top

military and intelligence officers in the conduct of such foreign operations. Indeed, plaintiff cites

only two ATS cases recognizing any kind of injunctive relief. See Opp. at 40-41. But both cases

pre-date the Court’s warning in Sosa, 542 U.S. at 728, to use “great caution” in exercising

common-law authority under the ATS. And neither case is remotely comparable to the novel and

extraordinary relief sought here against the President and his highest advisors and officers.17



        17
          One case involved injunctive relief against a fugitive indicted foreign war criminal. See
Kadic v. Karadzic, Opp. at 41 n.36. The other case, Von Dardel v. USSR, 623 F. Supp. 246
(D.D.C. 1985), vacated, 736 F. Supp. 1 (D.D.C. 1990), is a vacated district court decision based
on a default judgment in which the defendant did not respond or present any kind of argument to
the court on the ATS, and involved injunctive relief against the Soviet Union that simply
required it (in plaintiff’s words) to “account for” a person’s “whereabouts,” Opp. at 41.

                                                  -21-
      Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10       Page 24 of 27




       Furthermore, as explained in the United States’ opening brief (Defs. Mem. at 40-41), the

Government has not waived its sovereign immunity for plaintiff’s claim under the ATS. Plaintiff

cannot dispute that “[t]he Alien Tort Statute itself is not a waiver of sovereign immunity,”

Sanchez-Espinoza, 770 F.2d at 207 (Scalia, J.), and concedes that the APA does not permit a suit

for injunctive relief against the President. Opp. at 43. Even if the APA waives sovereign

immunity for injunctive relief against subordinate federal officers, Opp. at 43, the APA does not

displace a court’s authority and responsibility to “deny relief on . . . any other appropriate legal or

equitable ground.” 5 U.S.C. § 702. And as defendants previously explained (Defs. Mem. at 41),

courts have held that “it would be an abuse of [] discretion to provide discretionary relief” under

the APA where a case involves “military operations that [the court is] asked to terminate,” and

where “the allegations in the complaint” are that those military operations “received the attention

and approval of the President . . . the Secretary of Defense, and the Director of the CIA, and

involve[] the conduct of our diplomatic relations with [a] foreign state[].” Sanchez-Espinoza,

770 F.2d at 208. That is exactly the case alleged by plaintiff’s complaint.

       Contrary to plaintiff’s suggestion, Opp. at 44 n.38, the discretionary relief sought under

the APA in Sanchez-Espinoza was not meaningfully different from the discretionary APA relief

sought here. To be sure, some plaintiffs in Sanchez-Espinoza did seek different relief, see 770

F.2d at 205, not under the APA but under different federal and state law, see id. at 210. But as to

the relief sought under the APA, the D.C. Circuit was clear about the nature of the requested

relief – namely, that the court was “asked to terminate” certain alleged “military operations”

approved by the President and senior officials, involving “the conduct of our diplomatic relations

with [a] foreign state[],” see id. at 208. The court was equally clear that “it would be an abuse of


                                                 -22-
      Case 1:10-cv-01469-JDB            Document 29        Filed 10/18/10      Page 25 of 27




our discretion to provide discretionary relief” in such a case, ibid. Neither the relief requested

here nor the result under the APA differs from that in Sanchez-Espinoza.

       Finally, plaintiff argues (Opp. at 41-43) that immunity is waived under the so-called

Larson-Dugan exception to sovereign immunity, which “holds that sovereign immunity does not

apply as a bar to suits alleging that an officer’s actions were unconstitutional or beyond statutory

authority, on the ground that ‘where the officer’s powers are limited by statute, his actions

beyond those limitations are considered individual and not sovereign acts.’” Swan, 100 F.3d at

981. But in Sanchez-Espinoza, the D.C. Circuit, after citing Larson and noting that injunctive

relief might be available against federal officers “when the officer’s action is unauthorized

because contrary to statutory or constitutional prescription,” nonetheless held that the exception

“can have no application” to an ATS claim brought against federal officers. 770 F.2d at 207.

V.     THE STATE SECRETS PRIVILEGE NEED NOT BE REACHED, BUT WOULD
       PROPERLY FORECLOSE LITIGATION OF THIS CASE.

        The Government has made clear that its final ground for dismissal—the state secrets

privilege—need not be reached because the foregoing grounds for dismissal are more than

sufficient. See Defs. Mem. at 43-44. But it is also evident that this lawsuit seeks to probe into

alleged military and intelligence activities, and that specific categories of national security

information properly protected by the privilege assertion would be necessary to litigate the case.

       Plaintiff first appears to contend that the privilege assertion should not be upheld because

of the nature of his claims involving alleged lethal force against a U.S. citizen (see Opp. at

46-47)—without regard to whether litigation would necessarily risk or require disclosure of

information that would harm national security. But it is not the nature of the claim, standing



                                                 -23-
      Case 1:10-cv-01469-JDB            Document 29         Filed 10/18/10     Page 26 of 27




alone, that determines the applicability of the privilege or whether further proceedings in a case

reasonably could be expected to harm the national security of the United States. The state secrets

doctrine clearly applies to the allegations in this case.

        Plaintiff further contends that media speculation and some public disclosures concerning

Anwar al-Aulaqi warrant rejection of the privilege assertion. See Opp. at 45-47. The

Government addressed plaintiff’s concern at length in its prior submissions to the Court, see

Defs. Mem. at 56-59, and has set forth for the Court’s ex parte, in camera review specific

privileged information implicated by the allegations in this case and why its disclosure

reasonably could be expected to harm national security. In unclassified terms, this includes

information needed to address whether or not, or under what circumstances, the United States

may target a particular foreign terrorist organization and its senior leadership, the specific threat

posed by al-Qaeda, AQAP, or Anwar al-Aulaqi, and other matters that plaintiff has put at issue,

including any criteria governing the use of lethal force. See id. at 48-49.18 The Secretary of

Defense, the CIA Director, and Director of National Intelligence have demonstrated that the

unauthorized disclosure of certain information needed to litigate the case reasonably could be

expected to cause significant harm to national security. See id. at 49-50.


        18
           The Government has not asserted the state secrets privilege over the information
contained in the Department of Defense (DoD) slides released to plaintiff’s counsel through a
Freedom of Information Act request. See Jonathan Manes Decl. (Dkt. 24-3), Exh. A thereto.
Those slides concern DoD military targeting and force actions in general and do not concern or
reveal anything as to alleged military operations in Yemen, including those alleged to be at issue
in this case. See, e.g., Slide 8 (Dkt. 24-3 at ECF page 11 of 52) (any application of targeting
process involves applicable commander’s objectives and guidance). The disclosure of certain
DoD information implicated by the allegations in this case is precluded by the military and state
secrets privilege. See Public Sec’y Gates Decl. (Dkt. 15-5). Far from undercutting defendants’
position, the release of these slides underscores the Government’s effort to publicly release
information consistent with its obligation to protect national security.

                                                 -24-
      Case 1:10-cv-01469-JDB         Document 29       Filed 10/18/10     Page 27 of 27




                                       CONCLUSION

       For the foregoing reasons, the Court should grant defendants’ motion to dismiss.

Date: October 18, 2010             Respectfully Submitted,

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